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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA,

                      Plaintiff,

470,773 USDT ASSOCIATED WITH VIRTUAL       No: 1-24-cv-
CURRENCY ADDRESS
0x55Df4Ecd9066C417103F59d3eCc9B309Dedfd131
AND SEIZED ON MARCH 6, 2024,

                       Defendant in Rem.

                 VERIFIED COMPLAINT FOR FORFEITURE IN REM

         Plaintiff, the United States of America, brings this complaint and alleges as follows

  in accordance with Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

                                   NATURE OF THE ACTION

         1.     This is a civil forfeiture action in rem, as authorized by 18 U.S.C. §§ 981

  and 983, in which the United States of America alleges that 470,773 USDT 1 associated

  with the virtual currency address 0x55Df4Ecd9066C417103F59d3eCc9B309Dedfd131

  and seized by the Federal Bureau of Investigation on March 6, 2024 (the “Defendant

  Property” or the “defendant in rem”) is subject to forfeiture to the United States

  pursuant to 18 U.S.C. § 981(a)(1)(C) because it is property, real or personal, which

  constitutes or is derived from proceeds traceable to wire fraud or wire fraud conspiracy,

  in violation of 18 U.S.C. §§ 1343 and 1349. Further, the Defendant Property is subject to

  forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A) because it is property, real or personal,

  involved in money laundering transactions in violation of 18 U.S.C. §§ 1956 and 1957, or


  1       “USDT” tokens, often referred to as “Tether,” are a form of cryptocurrency issued by
  Tether Limited.
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is property traceable to such property.

                                  DEFENDANT IN REM

       2.      The defendant in rem consists of 470,773 USDT associated with the virtual

currency address 0x55Df4Ecd9066C417103F59d3eCc9B309Dedfd131 and seized by the

Federal Bureau of Investigation on March 6, 2024. 2

       3.      On January 19, 2024, the United States sought and was granted a seizure

warrant for the defendant in rem. On March 6, 2024, Tether transferred the defendant

in rem to the custody of the Federal Bureau of Investigation.

       4.      The defendant in rem is presently in the custody of the United States

Marshals Service. The defendant in rem is held in one or more virtual currency wallets

under the control of the United States Marshals Service.

                              JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345

and 1355.

       6.      Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(1)(A)

because acts or omissions giving rise to the forfeiture occurred in the District of Maine.

Further, venue is proper in this district pursuant to 28 U.S.C. § 1395(a), which permits a

civil proceeding for forfeiture to “be prosecuted in the district where it accrues or the

defendant is found.”




2      The manner in which 470,773 USDT associated with that virtual currency address was
seized—by way of Tether providing an equivalent amount of USDT tokens to 470,773 USDT
associated with the virtual currency address at the time of seizure—is explained further below.
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                         DEFINITIONS AND BACKGROUND

       7.     Virtual currencies are digital representations of value that, like traditional

coin and paper currency, function as a medium of exchange (i.e., they can be digitally

traded or transferred, and can be used for payment or investment purposes). Virtual

currencies are a type of digital asset separate and distinct from digital representations of

traditional currencies, securities, and other traditional financial assets. The exchange

value of a particular virtual currency generally is based on agreement or trust among its

community of users. Some virtual currencies have equivalent values in real currency or

can act as a substitute for real currency, while others are specific to particular virtual

domains (e.g., online gaming communities) and generally cannot be exchanged for real

currency. Cryptocurrencies, like Bitcoin and Ether, are types of virtual currencies, which

rely on cryptography for security. Cryptocurrencies typically lack a central administrator

to issue the currency and maintain payment ledgers. Instead, cryptocurrencies use

algorithms, a distributed ledger known as a blockchain, and a network of peer-to-peer

users to maintain an accurate system of payments and receipts.

       8.     Cryptocurrency, a type of virtual currency, is a decentralized, peer-to peer,

network-based medium of value or exchange that may be used as a substitute for fiat

currency 3 to buy goods or services or exchanged for fiat currency or other

cryptocurrencies. Examples of cryptocurrency are Bitcoin, Litecoin, Ether, and USDT

tokens. Cryptocurrency can exist digitally on the Internet, in an electronic storage

device, or in cloud-based servers. Although not usually stored in any physical form,



3      Fiat currency is currency issued and regulated by a government such as the U.S. Dollar,
Euro, or Japanese Yen.
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public and private keys (described below) used to transfer cryptocurrency from one

person or place to another can be printed or written on a piece of paper or other tangible

object. Cryptocurrency can be exchanged directly person to person, through a

cryptocurrency exchange, or through other intermediaries. Generally, cryptocurrency is

not issued by any government, bank, or company; it is instead generated and controlled

through computer software operating on a decentralized peer-to-peer network. Most

cryptocurrencies have a “blockchain,” which is a distributed public ledger, run by the

decentralized network, containing an immutable and historical record of every

transaction.

             a. Although cryptocurrencies such as Bitcoin and Tether’s USDT have

                legitimate uses, cryptocurrency is also used by individuals and

                organizations for criminal purposes such as money laundering and is an

                oft-used means of payment for illegal goods and services.

       9.       Stablecoins are a type of virtual currency whose value is pegged to a

commodity’s price, such as gold, or to a fiat currency, such as the U.S. dollar, or to a

different virtual currency. Stablecoins achieve their price stability via collateralization

(backing) or through algorithmic mechanisms of buying and selling the reference asset

or its derivatives.

       10.      Tether Limited is a company registered to do business in the British Virgin

Islands that manages the smart contracts and the treasury (i.e., the funds held in

reserve) for USDT tokens, which are a form of cryptocurrency. USDT tokens are

stablecoins pegged to the value of the United States dollar. Tether Limited purports to

maintain $1.00 of U.S. Currency in reserve for each USDT issued. Essentially, Tether is
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the sole entity involved in the issuance of USDT tokens.

             a. As of March 6, 2024, the date of the seizure discussed herein, one USDT

                was worth approximately $1.00. One USDT continues to be worth

                approximately $1.00 as of the date of this Verified Complaint.

             b. USDT tokens are issued on various blockchains. In this case, the tokens

                involved are ERC-20 USDT, which operate on the Ethereum blockchain.

       11.      A blockchain is a digital ledger run by a decentralized network of

computers referred to as “nodes.” Each node runs software that maintains an immutable

and historical record of every transaction utilizing that blockchain’s technology. Many

digital assets, including virtual currencies, publicly record all of their transactions on a

blockchain, including all of the known balances for each virtual currency address on the

blockchain. 4 Blockchains consist of blocks of cryptographically signed transactions, and

blocks are added to the previous block after validation and after undergoing a consensus

decision to expose and resist tampering or manipulation of the data. There are many

different blockchains used by many different virtual currencies. For example, Bitcoin in

its native state exists on the Bitcoin blockchain, while Ether (or “ETH”) exists in its

native state on the Ethereum network. USDT tokens are issued on various blockchains

including, for example, the Ethereum network.

       12.      A transaction hash, also called a transaction ID, is a unique string of

characters which identifies a specific transaction on the blockchain—akin to a serial




4      Some cryptocurrencies operate on blockchains that are not public and operate in such a
way as to obfuscate transactions, making it difficult to trace or attribute transactions.

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number or accounting journal entry number. A transaction hash is assigned to a

transaction when it is added to the blockchain, and it is generated by applying a hash

function to the transaction details, including the sender’s address, the receiver’s

address, and the amount of virtual currency being sent. Transaction hashes can be

found on blockchain explorers and can be used to verify and track transactions.

       13.    Cryptocurrency mining is the process that several virtual currencies,

including Bitcoin, use to verify and add blockchain transactions to a public ledger (e.g.,

the Bitcoin blockchain). Miners operate specialized computers that compete to perform

mathematical problems needed to validate blockchain transactions. The first miner to

accurately solve the problem authorizes a block of transactions, and as a reward,

receives newly released or “mined” virtual currency that is native to the specific network

or blockchain.

       14.    A transaction fee is a fee paid by the party sending virtual currency on a

blockchain to reward miners and/or validators for verifying and validating transactions.

Transaction fees vary by blockchain and can fluctuate based on factors such as

blockchain network traffic and transaction sizes. Senders of virtual currency can

increase the transaction fees that they pay to have their transactions confirmed faster by

miners and/or validators. Transaction fees are generally paid in a blockchain’s native

token (e.g., bitcoin on the Bitcoin blockchain). On the Ethereum network, these

transaction fees are called “gas fees.” Gas fees are transaction costs paid in Ether

(“ETH”), or its fraction, gwei. These fees serve as a form of remuneration for validators

who maintain and secure the network. Gas fees fluctuate based on supply, demand, and

network capacity, and may increase during periods of network congestion.
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       15.    A virtual currency exchange (“VCE”), also called a cryptocurrency

exchange, is a platform used to buy and sell virtual currencies. VCEs allow users to

exchange their virtual currency for other virtual currencies or fiat currency, and vice

versa. Many VCEs also store their customers’ virtual currency addresses in hosted

wallets. VCEs can be centralized (i.e., an entity or organization that facilitates virtual

currency trading between parties on a large scale and often resembles traditional asset

exchanges like the exchange of stocks) or decentralized (i.e., a peer-to-peer marketplace

where transactions occur directly between parties).

       16.    A virtual currency address is an alphanumeric string that designates the

virtual location on a blockchain where virtual currency can be sent and received. A

virtual currency address is associated with a virtual currency wallet.

       17.    A virtual currency wallet (e.g., a hardware wallet, software wallet, or paper

wallet) stores a user’s public and private keys, allowing a user to send and receive virtual

currency stored on the blockchain. Multiple virtual currency addresses can be controlled

by one wallet. A public key or address is akin to a bank account number, and a private

key is akin to a PIN number or password that allows a user the ability to access and

transfer value associated with the public key or address. To conduct transactions on a

blockchain, an individual must use the public address (or “public key”) and the private

address (or “private key”). A public address is represented as a case-sensitive string of

letters and numbers of varying character lengths. Each public address is controlled

and/or accessed through the use of a unique corresponding private key—the

cryptographic equivalent of a password or PIN—needed to access the address. Generally,

only the holder of an address’s private key can authorize any transfers of cryptocurrency
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from that address to another cryptocurrency address.

         i.   A hardware wallet is a physical, removable device that stores a user’s

              private keys and can be connected to a computer when a user wishes to use

              the keys stored on the wallet for virtual currency transactions. Hardware

              wallets can be secured with PINs and passphrases and can be backed up or

              regenerated with a recovery phrase. Trezor and Ledger are some examples

              of the types of hardware wallets on the market.

        ii.   A hosted wallet, also known as a custodial wallet, is a virtual currency

              wallet through which a third party, e.g., a virtual currency exchange, holds

              a user’s private keys. The third party maintains the hosted wallet on its

              platform akin to how a bank maintains a bank account for a customer,

              allowing the customer to authorize virtual currency transactions involving

              the hosted wallet only by logging into/engaging with the third party’s

              platform.

       iii.   A multi-signature wallet (or “multisig” wallet) (also sometimes called

              “multisig vaults” or “safes”) requires two or more private key signatures to

              authorize transactions. Multi-signature wallets requiring more than two

              private key signatures can be designed so a majority of keys is needed to

              authorize transactions.

       iv.    A paper wallet is an offline paper record of a virtual currency wallet’s

              public and private keys. Paper wallets can include barcodes (e.g., a QR

              code) along with their alphanumeric strings. It is literally private keys

              printed on a piece of paper.
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        v.    A software wallet is an internet-connected virtual currency wallet in the

              form of a software application on a desktop or mobile device or a web-

              based platform accessible through a web browser. The software will store

              and usually encrypt the user’s public and private keys.

       vi.    An unhosted wallet, also known as a self-hosted or non-custodial wallet, is

              a virtual currency wallet through which the user has complete control over

              storing and securing their private keys and virtual currency. Unhosted

              wallets do not require a third party’s involvement (e.g., a virtual currency

              exchange) to facilitate a transaction involving the wallet.

       vii.   Wallets can also be backed up into, for example, paper printouts, USB

              drives, or CDs, and accessed through a recovery seed (random words

              strung together in a phrase) or a complex password. Additional security

              safeguards for cryptocurrency wallets can include two-factor authorization

              (such as a password and a phrase).

      18.     A private key is a cryptographic key that is uniquely associated with an

entity and not made public. In the blockchain and virtual currency context, virtual

currency addresses are controlled using a unique corresponding private key, the

equivalent of a password, which is needed to access the funds associated with the

address. Generally, only the holder of an address’s private key can authorize a transfer

of virtual currency from that address to another address.

      19.     A public key is a cryptographic key that is uniquely associated with a

person or entity and is designed to be made public. The public key is paired with, and

derived from, a private (secret) key. However, knowing the public key does not reveal
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 any information about the private key. In the blockchain and virtual currency context, a

 virtual currency address is the hashed value of a public key and acts as an identifier on a

 blockchain.

        20.      A key pair, in cryptography, refers to a private key and its corresponding

 public key. A key pair is used with a public-key algorithm.

        21.      Through blockchain analysis, law enforcement can trace transactions on

 blockchains to determine which virtual currency addresses are sending and receiving

 particular virtual currency. This analysis can be invaluable to criminal investigations for

 many reasons, including that it may enable law enforcement to uncover transactions

 involving illicit funds and to identify the person(s) behind those transactions. To

 conduct blockchain analysis, law enforcement officers use reputable, free open-source

 blockchain explorers, as well as commercial tools and services. These commercial tools

 are offered by different blockchain-analysis companies. Through numerous unrelated

 investigations, law enforcement has found the information associated with these tools to

 be reliable.

              a. The information contained herein is based, in part, on blockchain analysis

                 using the commercial blockchain analysis tool Chainalysis. Commercial

                 blockchain analysis tools supplement open source blockchain data by

                 applying heuristics or manual investigations to enhance the process of

                 blockchain analysis. A cluster (or grouping of addresses) in these tools is a

                 collection of addresses where the tool vender assesses one entity controls

                 them.


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        22.    A blockchain explorer, also called a block explorer, is software that

 operates as a blockchain search engine for users to search and review transactional data

 for any addresses on a particular blockchain. A blockchain explorer uses an application

 programming interface and blockchain nodes to draw data from a blockchain and uses a

 database to arrange, visualize, and present the data to a user in a searchable format.

 This data can include average transaction fees, hash rates, and block size.

        23.    The term domain spoofing refers to a process by which cybercriminals

 seek to persuade victims that a web address or email address belongs to a legitimate and

 generally trusted company, when in fact it links the user to a fraudulent site controlled

 by a cybercriminal. The fraudulent site is referred to as a spoofed domain.

        24.    Cryptocurrency investment schemes (also known as “cryptocurrency

 confidence schemes” and previously referred to as “pig butchering” schemes) are

 schemes where criminal actors engage in social engineering, which allow the criminal

 actors to steal victims’ funds through virtual currency payments and/or fraudulent

 investments. The phrase “pig butchering” is translated from the

 Chinese “shāzhūpán” and refers to a scam in which the victim is “fattened up prior to

 slaughter.” These scams typically involve four stages. First, a perpetrator will use a

 fictious identity and cold-contact a victim, often via text message or messaging

 application, social media, a dating application, or other communication platform.

 Oftentimes, the perpetrator will pretend to have contacted the wrong number but will

 continue communicating with the victim. Second, the perpetrator will establish a

 relationship and build trust with the victim by continuing to message over days, weeks,

 or months. Third, the scammer will concoct a narrative to induce the victim to send a
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 series of payments in the form of virtual currency. Common narratives include lucrative

 investment opportunities or emergencies necessitating funds. Many perpetrators will

 convince victims to use fraudulent websites or applications, controlled by scammers, to

 invest in virtual currency. Perpetrators coach victims through the investment process,

 show them fake profits, and encourage victims to invest more. In the fourth stage,

 perpetrators disengage victims once they have stolen their funds. In scenarios when

 victims stop sending more payments, the perpetrator cuts off all contact. In schemes

 involving fraudulent investment platforms, victims are told they need to pay a fee or tax

 when they attempt to withdraw their money. Victims are then unable to get their money

 back from perpetrators, even if they pay the fake fees or taxes.

                          FACTUAL BASIS FOR FORFEITURE

    I.         The Scheme to Defraud

         25.     On about October 20, 2022, the FBI Resident Agency office in Portland,

 Maine became aware of Victim 1, who then resided in Maine. Victim 1 provided

 information indicating that they were the victim of conduct consistent with a

 cryptocurrency investment scheme.

         26.     Victim 1 reported that they met a person—whom they understood to be a

 female—on Tinder, an online dating site. Though she reportedly used the screen name




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 “Jessica,” Victim 1 understood the person’s “real name” to be Chie Aoi (“Aoi”). 5, 6, 7

        27.     Aoi used the email address wenyongcheng1985[@]gmail.com. 8 Google

 records indicate that the subscriber associated with this email address was an individual

 named “Chief Aoi” and that the email account was accessed during the relevant period

 from IP addresses resolving to China Mobile Limited, a communications service

 provider based in Hong Kong. Aoi used the email address

 wenyongcheng1985[@]gmail.com to contact Victim 1 as late as January 5, 2023, when

 Aoi emailed to inquire how Victim 1 was doing.

        28.     After meeting on Tinder, Victim 1 reported communicating with Aoi

 exclusively over Telegram, a messaging application. Aoi gained Victim 1’s trust and



 5       Because the person or persons acting as “Chie Aoi” or “Jessica” has not been definitively
 identified, they are referred to herein as “Aoi” and using she/her/hers pronouns. Personas like
 Aoi can be, and often are, played by more than one perpetrator engaged in the cryptocurrency
 confidence scheme.

 6      In an October 2022 email to Victim 1, the user of the wenyongcheng1985[@]gmail.com
 address stated, “Hello, yes, I’m Qian Hui[.]”

 7       Victim 1 initially reported to the Federal Bureau of Investigation that the person who
 victimized them and led them into the fraud scheme was an individual in Maine who worked for
 the same company from which Victim 1 had retired. Victim 1 indicated that Victim 1 had spoken
 with that individual by phone sometime in June 2022, at which time that individual proposed
 cryptocurrency trading for Victim 1 to make more money. Victim 1 indicated that the individual
 had Victim 1 create a Telegram account and the two subsequently communicated via Telegram,
 with the individual using the name “Jessica.” Victim 1 indicated that the individual was the one
 responsible for directing Victim 1 to use “Trust” and, later, Crypto.com, and directing Victim 1’s
 subsequent transfers in the fraud scheme. Victim 1’s spouse was present for the interview during
 which Victim 1 reported this information to the Federal Bureau of Investigation. Subsequently,
 on about November 29, 2022, Victim 1 corrected their initial report, revealing they met the
 perpetrator over the dating application Tinder. Victim 1 cited embarrassment, and the desire to
 not reveal the true source of their victimization to their spouse, as the reason for their initial
 claim. Victim 1 disclosed that the person Victim 1 had initially identified as the perpetrator was
 never involved in the scam.

 8      Brackets are placed within certain email addresses and URLs in this Verified Complaint
 to prevent inadvertent connections.
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 deceived Victim 1 into making what Victim 1 believed were cryptocurrency

 “investments,” or paying fees to withdraw from the investments. Instead, Aoi induced

 Victim 1 to transfer cryptocurrency to addresses controlled by the perpetrators of the

 fraud.

          29.    In their communications, Aoi convinced Victim 1 to buy cryptocurrency, at

 first directing Victim 1 to start with small investments through a cryptocurrency

 custodian “Trust,” before directing Victim 1 to use Crypto.com. 9

          30.    Aoi eventually directed Victim 1 to use a purported online trading

 platform, identified as FXCMPRO[.]CC, to “invest” Victim 1’s cryptocurrency. The

 uniform resource locator (“URL”) for the FXCMPRO[.]CC platform changed often, but

 Aoi knew how to access each new site and directed Victim 1 to it. According to screen

 captures of some of Victim 1’s interactions with the purported platform or with

 “Customer service,” the purported platform was also located at, or used, the domains

 GXUHIEWBCP[.]BUZZ and MMYNSMAA[.]XYZ at different points. Aoi referred to the

 platform as the “fast trading site.”

          31.    Based on Aoi’s statements, Victim 1 understood the platform to be the

 FXCM Exchange. FXCM, or Forex Capital Markets, is a real retail foreign exchange

 broker. However, the FXCMPRO[.]CC sites to which Aoi directed Victim 1 were not truly

 associated with FXCM—rather, Aoi engaged in domain spoofing. Aoi convinced Victim 1

 that the web addresses belonged to a legitimate company, when in fact the addresses to

 which Aoi sent Victim 1 linked Victim 1 to a fraudulent site controlled by Aoi and/or




 9        “Trust” likely refers to Trust Wallet, a non-custodial wallet software.
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 other cybercriminals.

             a. A search through a publicly available domain search tool demonstrates

                that the FXCMPRO[.]CC domain was created on July 2, 2022, through a

                domain registry service company based in Arizona, near in time to the use

                of that domain in the fraud scheme.

             b. A search through a publicly available domain search tool demonstrates

                that the GXUHIEWBCP[.]BUZZ and MMYNSMAA[.]XYZ domains were

                created on August 10, 2022, and April 22, 2022, respectively, through the

                same Arizona based registry service, near in time to the use of those

                domains in the fraud scheme.

       32.      Aoi further directed Victim 1 to send Victim 1’s “investments” (or fees

 related to withdrawing Victim 1’s “investments”) on FXCMPRO[.]CC, from Victim 1’s

 Crypto.com account to three addresses purportedly associated with the fake

 FXCMPRO[.]CC exchange:

             a. A virtual currency address ending in d131 (“VCA d131”);

             b. A virtual currency address ending in 0c48 (“VCA 0C48”); and

             c. A virtual currency address ending in 91Fc (“VCA 91Fc”).

       33.      “Customer service” for the purported platform directed Victim 1 to direct

 at least two transactions to VCA d131.

       34.      Victim 1 reported using a bank account under the name of a relative’s

 estate—of which Victim 1 is or was the executor—to fund their initial “investment.”

 Victim 1 then reportedly used money from their joint investment account as well as their

 personal bank accounts and their joint bank accounts with their spouse, Victim 2, to buy
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 cryptocurrency and fund subsequent “investments” or fees related to withdrawals.

        35.      Based upon bank records, as used herein, the bank account under the

 name of a relative’s estate is referred to as “Bank Account 1.” The joint investment

 account is referred to as “Investment Account 1.” Victim 1’s personal bank accounts are

 referred to as “Bank Account 2” and “Bank Account 5.” Victim 1’s joint bank accounts

 with Victim 2 are referred to as “Bank Account 3” and “Bank Account 4.”

        36.      Victim 1 reportedly did not send funds to VCA 91Fc.

        37.      As reflected in records, Victim 1’s wire transfers and ACH debits into their

 Crypto.com account from Bank Account 1, Bank Account 2, Bank Account 3, and Bank

 Account 5 are summarized below. 10 The transfers amount to $895,600 in total, with the

 majority of funds ultimately transferred to VCA d131 and VCA oc48.

                               Transfer Source
                  Date            Account                   Amount

              6/23/2022       Bank Account 1            $   1,500.00
              7/8/2022 11     Bank Account 1            $   3,325.00
              7/25/2022       Bank Account 1            $      100.00
              8/8/2022        Bank Account 2            $   50,000.00
              8/16/2022       Bank Account 5            $   16,000.00
              8/22/2022       Bank Account 2            $   50,000.00
              8/24/2022       Bank Account 3            $   50,000.00
              8/26/2022       Bank Account 5            $   50,000.00
              8/30/2022       Bank Account 3            $   50,000.00

 10      The Federal Bureau of Identification identified approximately $47,000 in payments
 made to MCB Foris/Crypto.com that were debit card purchases, which are not scheduled below.
 These debit card purchases also came from Bank Account 6, an account in Victim 1’s name. The
 Crypto.com activity identified during the investigation showed approximately $896,000 in
 vIBAN (virtual Bank Account Number) purchases, matching the approximate total of ACH and
 wire transfers identified in bank records.

 11     Records suggest this transaction was returned/reversed shortly after it took place, with
 an incoming transfer of $3,325.00 on July 13, 2022.
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             9/1/2022       Bank Account 3          $ 50,000.00
             9/2/2022       Bank Account 3          $ 50,000.00
             9/7/2022       Bank Account 3          $ 50,000.00
             9/12/2022      Bank Account 2          $ 23,000.00
             9/12/2022      Bank Account 3          $ 25,000.00
             9/14/2022      Bank Account 3          $ 50,000.00
             9/16/2022      Bank Account 2          $ 40,000.00
             9/20/2022      Bank Account 3          $ 60,000.00
             9/21/2022      Bank Account 3          $ 60,000.00
             9/23/2022      Bank Account 3          $ 120,000.00
             10/5/2022      Bank Account 3          $ 50,000.00
             10/5/2022      Bank Account 3          $ 50,000.00


       38.     Records show that Victim 1’s June 23, 2022 transfer from Bank Account 1

 was by “ACH DEBIT” to “FORIS INC MCB PAYMENT.” Records further show that

 Victim 1’s transfers from Bank Account 2 and Bank Account 3 were generally to “Mcb

 Foris.” Metropolitan Bank Holding Corporation is the holding company for

 Metropolitan Commercial Bank and trades on the New York Stock Exchange under the

 symbol MCB. Foris DAX, Inc. does business as Crypto.com. It appears MCB serviced

 Foris DAX, Inc. by receiving the wire transfers on behalf of Foris DAX, Inc.

       39.     Victim 1 reported observing their “investment” into FXCM purportedly

 grow very quickly from $100,000 to $300,000 and wished to make a withdrawal.

 Victim 1 was told to pay $54,000 in taxes in order to withdraw the money—Aoi told

 Victim 1 this was standard procedure and that Victim 1 should do it. Victim 1 then paid

 the money. Thereafter, Victim 1 was told they were required to make additional

 payments for different reasons, such as needing to “recharge,” “top up” to “upgrade the

 membership business,” or pay a platform management fee, an account activation fee, or

 a refundable risk deposit fee. For example, according to screen captures provided by

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 Victim 1 and/or Victim 2, Victim 1 had the following exchanges with “Customer service”

 at the purported platform using the address mmynsmaa[.]xyz:

           a. On about September 21, 2022, Victim 1 told “Customer service”:

                     I can send the funds now to open the green channel. 48888USDT to
                     Ox55Df4Ecd9066C417103F59d3eCc9B309Dedfd131?

              Victim 1 followed up with:

                     Please confirm[.]

              “Customer service” responded:

                     Hello: After the recharge is completed, please take a screenshot and
                     check with the customer service[.]

              “Customer service” later stated:

                     Hello, the system is querying for you, please be patient!

                     Hello: The system has detected that your valid deposit of
                     48888USDT has been sent to your account. If you need to open the
                     green channel to withdraw funds, please pay the platform
                     management fee of 8888USDT first, and then open the green
                     channel to release the account funds after recharging 48888USDT.

              “Customer service” later stated:

                     Hello: the system has received 8888USDT platform management
                     fee, please deposit 48888USDT to open the green channel to
                     release funds.

           b. On about September 22, 2022, Victim 1 stated:

                     I have just sent you the platform management fee of 8888USDT
                     and the green channel management fee of 48888USDT combined
                     in a single payment of 57776USDT[.]

              Victim 1 included what appears to be a screen capture regarding

              “Withdraw USDT (ERC20)” in the amount of 57,786.00 USDT.

              “Customer service” then stated:
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                    Hello, the system is querying for you, please be patient!

                    Hello; the system has received your default effective recharge of
                    57776USDT and has sent it to your account for you. If you need to
                    open a green channel, please apply to the online customer service
                    for the corresponding fee to complete the fund withdrawal
                    business[.]

                    Hello: the system verified that it has not received your application
                    for opening the green channel fee. Please apply to the customer
                    service for the green channel fee and then recharge the funds.

             Upon Victim 1’s further inquiry, including whether this was a hoax or

             scam, “Customer service” responded:

                    Hello: you just inquired about the fees, but did not apply for green
                    channel business[.]

                    You need to activate the business before the system will verify it for
                    you[.]

             “Customer service” further explained that the system had not received

             Victim 1’s application, as Victim 1 had “only consulted the fees before . . . .”

          c. On about September 25, 2022, Victim 1 was told by “Customer service”:

                    Hello, yes, please send to the following address [VCA d131][.]

             Victim 1 responded with what appears to be a screen capture regarding

             “Withdraw USDT (ERC20)” in the amount of 26,339.00 USDT.

          d. On a date not captured in the screen capture, Victim 1 was told by

             “Customer service”:

                    Hello, because your friend did not verify the funds, the
                    return of funds failed, the system has defaulted to your valid
                    recharge, and 29829USDT has been sent to your account.
                    Please recharge 26329USDT and pay 26329USDT margin to
                    release the account. (Due to multiple errors in your account.
                    For the security of your account, please complete the
                    recharge within 72 hours)
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          e. On about October 4, 2022, Victim 1 was told by “Customer service”:

                    Hello, the system detected that the identity came from a
                    third party top-up [Chinese characters] (Chie Aoi), and since
                    she did not receive the funds, the return of the funds failed.

          f. On about October 4, 2022, Victim 1 was told by “Customer service”:

                    After the recharge is completed, please check the screenshot
                    with the customer service. After the verification is successful,
                    your funds will reach the designated account[.]

             Victim 1 replied:

                    And send to the same address as before: [VCA d131][.]

             “Customer service” replied:

                    Hello yes. After the recharge is complete, please check with
                    the online customer service.

          g. On about October 7, 2022, Victim 1 was told by “Customer service”:

                    Hello, the return of funds has been completed. Since your
                    platinum membership business has expired, please renew
                    your platinum membership by 58,000 USDT, and the
                    platinum membership fee will be returned to your account
                    within 24 hours. Your funds will be released after the
                    upgrade is complete.

             Victim 1 replied:

                    How is this even possible? I have asked over aand [sic] over
                    about additional fees, additional payments and you said
                    there would be none.

          h. On a date not captured in the screen capture, Victim 1 told “Customer

             service”:

                    I would like to send you now 52658 USDT top off to complete the
                    fund withdrawal process. Are you ready?

             On about October 7, 2022, “Customer service” responded:
                                           20
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                         Hello, after the recharge is complete, please take a screenshot and
                         check with the customer service.

                  Victim 1 then responded with what appears to be a screen capture

                  regarding “Withdraw USDT (ERC20)” in the amount of 52,668.00 USDT.

          40.      Each time Victim 1 was told to make additional payments, Victim 1

 reported that they would contact Aoi, who would reassure Victim 1 that it was standard

 procedure. Victim 1 continued to make the “required” payments. Despite making such

 payments, Victim 1 reported they were not able to withdraw their funds.

          41.     Victim 1 believed their “investments” into the cryptocurrency scheme went

 to two Tether addresses, which ended in “131” and “c48.”

    II.         Initial Tracing of Funds and Request to Freeze VCA d131

          42.     Victim 2, Victim 1’s spouse, reported to the Federal Bureau of

 Investigation that they discovered the scam when they came across a credit card charge

 for approximately $10,000 and asked Victim 1 about it. Victim 1 told Victim 2 of the

 scheme, though Victim 1 described the scammer as an employee of Victim 1’s former

 employer. 12

          43.     Victim 2 hired a cryptocurrency forensic firm (“Tracing Firm”) to help the

 couple track and recover their funds. Tracing Firm’s blockchain analysis traced a portion

 of their funds to VCA d131 and VCA 0c48 and showed that VCA d131 held the larger

 balance of Victim 1 and Victim 2’s funds. Pursuant to a request by Tracing Firm, Tether

 agreed to temporarily freeze the contents of VCA d131 for a short period. According to



 12     Victim 2 reported that Victim 1 had disclosed connecting with that individual in July
 2022 and maintaining regular contact over the next several weeks, until Victim 1 had lost
 approximately $880,000 through the scam.
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 correspondence between Tether and Tracing Firm, at the time of the temporary freeze

 on October 19, 2022, the balance in VCA d131 was 861,259 USDT.

        44.    On October 21, 2022, the Federal Bureau of Investigation also transmitted

 a request to Tether for that entity to voluntarily freeze the contents of VCA d131. On

 October 24, 2022, the Federal Bureau of Investigation learned that Tether had frozen

 the contents of VCA d131 and that the address held a balance of 861,260 as of that day.

        45.    On about November 9, 2022, the Federal Bureau of Investigation received

 notification from Tether that it had received a claim on VCA d131 from an individual

 under the name “cheng辰” and using the email address c7529955820[@]gmail.com.

        46.    On about November 11, 2022, the Federal Bureau of Investigation also

 received an email written in Chinese from the email address

 c7529955820[@]gmail.com, with the associated name of “cheng辰.” The Federal Bureau

 of Investigation determined the message stated, in part and as translated:

        Hello! My USDT-ERC20 malfunctioned on October 19, 2022. Only
        transfer-in is allowed at this transaction address, not transfer-out.
        Prompt error 10560 when transferring out: The transaction you want to
        send will fail to execute. To avoid losing miners’ fees, please check the data
        to try again.
        The wallet address is 0x55Df4Ecd9066C417103F59d3eCc9B309Dedfd131.
        Being blacked out by your contract address makes it impossible to transfer
        money. Please solve my problem. I am a businessman; I do not know what
        happened! These are all the money I’ve worked so hard to earn!!!

        47.    According to records provided by Google, Inc., the email account for

 address c7529955820[@]gmail.com was created on about October 25, 2022. Records

 also showed that the email account was accessed on about October 25, 2022, from an

 Internet Protocol (“IP”) address resolving to a regional IP administrator in the United


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 Kingdom, and that the account’s recovery SMS number began with country code +44.

 That country code is assigned to the United Kingdom.

    III.       Tracing Victim 1 and Victim 2’s Funds to VCA d131

         48.     Victim 1 was deceived into sending several ACH and wire transfers from

 the bank accounts described above to their account with the cryptocurrency exchange

 Crypto.com. From there, Victim 1 was further deceived into transferring USDT tokens

 on the Ethereum blockchain from Victim 1’s Crypto.com account to VCA d131 and VCA

 0c48.

         49.     The Federal Bureau of Investigation has access to one or more proprietary

 software tools that analyze financial transactions on the blockchain. Using this software,

 data from the Ethereum blockchain, manual tracing on the blockchain, and information

 provided by Victim 1, Victim 2, and Tracing Firm, a forensic accountant with the Federal

 Bureau of Investigation analyzed the flow of funds from Victim 1’s Crypto.com account

 and traced multiple USDT transfers from that Crypto.com account to VCA d131 and VCA

 0c48.

         50.     The Federal Bureau of Investigation traced approximately 470,773 USDT

 from Victim 1’s Crypto.com account to VCA d131 through both direct and indirect

 deposits into VCA d131. These transfers are visually summarized as follows13:




 13     The Target Account referenced in the visual summary is VCA d131. The “0x362b”
 address referenced in the visual summary is VCA 0c48.
                                             23
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          a. The deposits from Victim 1’s Crypto.com account directly into VCA d131

             occurred from on about September 14, 2022, through on about October 6,

             2022.

          b. The deposits from Victim 1’s Crypto.com account into VCA 0c48 occurred

             from on about July 7, 2022, through on about September 13, 2022. After

             receiving 470,403 USDT in Victim 1’s funds and additional comingled

             funds from other sources, the controller of VCA 0c48 remitted a portion of

             Victim 1’s funds and other comingled funds—a total of 57,410 USDT,

             including 46,666 USDT of Victim 1’s funds, as referenced in the above

             chart—in two transfers to VCA d131 on about September 13, 2022.

          c. The phrase “indirect deposit” refers to the transfer of funds from Victim 1’s

             Crypto.com account to VCA 0c48 and the subsequent transfer of a portion

             of those funds to VCA d131.

                                           24
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              d. Specifically, as shown above, 424,107 USDT is traceable from Victim 1’s

                 Crypto.com account as directly transferred into VCA d131 as part of the

                 fraud scheme. A further 46,666 USDT is traceable from Victim 1’s

                 Crypto.com account as transferred into VCA d131 by way of transfer

                 through VCA 0c48.

        51.      The following chart details transfers from the Crypto.com account to VCA

 d131 and VCA 0c48: 14

               Date                                                              7/7/22 19:19

   USDT Amount                                                                       1,454.81
    Sent to wallet
          address                             0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash       0x666fdcba41385c14285950acc549ad5ef3053dce1591c055a3b080d1b78c0316


               Date                                                             7/29/22 17:43

   USDT Amount                                                                      6,025.00
    Sent to wallet
          address                             0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash        0x63aeb2ab61e3fc3cf568267cc6cd6d4e7abc1b8c33ed192ad2aed13285e67b43


               Date                                                              8/9/22 15:06

   USDT Amount                                                                     48,683.03
    Sent to wallet
          address                             0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash       0x56df83f680033cd898a9df225e77de2361f9dce242332b6582b26433f552f8b6


               Date                                                             8/12/22 23:16

   USDT Amount                                                                      13,637.79
    Sent to wallet
          address                             0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash      0x44a4a31ec52bc32819275b257e77ba9d4e129623cb821200b520770606208740

 14    Unless otherwise noted, all cryptocurrency-related dates and times referenced are in
 UTC. All virtual currency amounts and US dollar conversion rate amounts are approximate.
                                               25
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             Date                                                          8/16/22 19:06

   USDT Amount                                                                   15,595.87
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash     0x00754e83397aaf704cf319fd9feba4b26b87261d972b30e0e49c0b14366b4e02


             Date                                                           8/23/22 3:50

   USDT Amount                                                                   48,717.52
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash      0xf5eef5217b460d3a0a89fb98c90a1a0cad69459ff2acbe1500f07897854911d8


             Date                                                          8/25/22 20:28

   USDT Amount                                                                  48,309.26
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash     0xb72de1821faf5109f9e346da594397078f08822058f0c7e04f843ae8384055b5


             Date                                                          8/26/22 16:46

   USDT Amount                                                                  46,666.00
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash      0x5c438d80cb717142cb118eafdd2a3e6e7d88dcf255ac0eae935a7176d6648e61


             Date                                                             8/31/22 0:36

   USDT Amount                                                                   49,095.27
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash     0x232faa344878bc9eb415f58c3bc24e04bb28cd064f5f8055023b23770e9eba9a


             Date                                                             9/2/22 11:34

   USDT Amount                                                                  48,844.74
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash      0x7fa57c47af6f48765415b66b8eab5ec26813ee214b08cf498444c95de9ac7366


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             Date                                                           9/2/22 20:23

   USDT Amount                                                                   48,707.77
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash      0xbc9bb054aba765e59f4ccaa89f46f3fc79b7cbca7792cd8b33d527130e766293


             Date                                                              9/8/22 1:36

   USDT Amount                                                                  48,000.00
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash     0xa6be4867c2b2dd94570ee645f7f501e2f0fdea377434be9285733945c42f49b8


             Date                                                             9/13/22 2:35

   USDT Amount                                                                  46,666.00
    Sent to wallet
          address                           0x362b1a3d404f8455813da218339765d6600e0c48
     Transaction
            Hash     0xf861f9088c40afba062f834dc1444169a8b5152d77a58ae83798859232d3b9ea


             Date                                                             9/15/22 1:28

   USDT Amount                                                                   34,132.44
    Sent to wallet
          address                             0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x75ad8e404670afc0ee8a920b0355acda9c43e4da73054c0720fdffb7a2dc8416


             Date                                                             9/15/22 4:26

   USDT Amount                                                                  14,568.00
    Sent to wallet
          address                             0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash      0xc3ab2fc2c1b25934af92ef4584b3dbb5eb4d974da9913fbbc349e412fc7a64ef


             Date                                                          9/16/22 21:00

   USDT Amount                                                                  26,329.00
    Sent to wallet
          address                             0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x4e9482d4d4d5dacd396136593bbd88d34e80cca96e35a4b1ecae523fefa3c9ca



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             Date                                                          9/16/22 21:00

   USDT Amount                                                                  8,888.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x3dea57d83b98dccb447f871e6358d0e8527e0116c41fae5e3c6c600b2063dcbe


             Date                                                          9/20/22 18:39

   USDT Amount                                                                 48,888.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x3bdf3306d5988cada96e39e3998e9287b1a3e5e72719389911a44ff529037daf


             Date                                                          9/20/22 19:47

   USDT Amount                                                                  8,888.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0xce6b015dbf82ef20193daacd8dd08f3f2f2f133bb00d39f52813bb6068b4dbd6


             Date                                                           9/21/22 19:14

   USDT Amount                                                                 57,776.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x5eebab0eeb7526c8b8aaa682fccc39a14867d83db7a6c5d1a3719ebe8208b331


             Date                                                          9/23/22 23:25

   USDT Amount                                                                 57,776.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash      0xc2058ad7177623c8d56175d531daa511d1e15f9c3fd7421075a62135b6fd2fa3


             Date                                                          9/24/22 16:34

   USDT Amount                                                                 26,329.00
    Sent to wallet
          address                            0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash      0xf117e59466d1bf73006aace0a0aa5e7c78fcc405f72ac5422fd48badfd2ce882



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              Date                                                              10/3/22 20:38

   USDT Amount                                                                      29,829.00
    Sent to wallet
          address                                0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash        0xddf434cec3eb69c0c7f331a13ab9992b6f53b4bb0a5fc13cd16877917b5ae8cb


              Date                                                               10/5/22 21:39

   USDT Amount                                                                      26,329.00
    Sent to wallet
          address                                0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash     0x5f5baad2dbeb3da93288424893515696433318b90e73180b5aae37e38c049540


              Date                                                               10/6/22 13:37

   USDT Amount                                                                       31,717.00
    Sent to wallet
          address                                0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash        0x2a9321912ac85fef6baaa40f261a8df78ae2f31c8c6e202f85f1503aa1480629


              Date                                                               10/6/22 16:50

   USDT Amount                                                                      52,658.00
    Sent to wallet
          address                                0x55df4ecd9066c417103f59d3ecc9b309dedfd131
     Transaction
            Hash        0x02e857c072734b161fdf00baf51a68a141380dfa23f5ba044bc6fecba3d0f23c



        52.    In total, tracing showed that approximately 1,096,281 USDT—from both

 Victim 1’s funds and other sources 15—was deposited in VCA d131, though 232,918 USDT

 was withdrawn from VCA d131. As of the date Tether voluntarily froze the contents of

 VCA d131 in October 2022, VCA d131 contained 863,363 USDT. 16 Based upon its


 15     These other sources include deposits from VCA 91Fc, an address to which Victim 1 had
 been directed to send funds. Victim 1 reportedly did not send funds to VCA 91Fc.

 16     Tether had informed the Federal Bureau of Investigation on October 24, 2022, that it
 had frozen VCA d131, which currently held a balance of 861,260. However, through its
 blockchain analysis, the Federal Bureau of Investigation determined that there was a deposit
                                               29
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 blockchain analysis, the Federal Bureau of Investigation determined that the contents of

 VCA d131 at that time are visually summarized as follows: 17




           a. The Federal Bureau of Investigation confirmed that the funds withdrawn

               from VCA d131 before the address was frozen included 132,281 USDT of

               Victim 1’s funds and 100,637 USDT from other sources, using the last-in,

               first-out accounting method.

           b. The last-in, first-out tracing methodology involves analyzing the flow of

               tokens moving into and out of a given virtual currency address assuming

               that the last—or most recent—incoming assets are the first expended or


 into VCA d131 on about October 20, 2022, in the amount of 2,103 USDT. It appears that
 Tether’s freeze on the account prevented outgoing transfers from VCA d131 but continued to
 permit deposits into VCA d131.

 17     The Target Account referenced in the visual summary is VCA d131.
                                              30
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                 sent out.

              c. Thus, of the 863,363 USDT present in VCA d131, 338,492 USDT

                 constituted funds transferred from Victim 1’s Crypto.com account and

                 524,871 USDT constituted funds from other sources that had been

                 comingled in VCA d131 with the funds transferred from Victim 1.

        53.      Given the transfer of 470,773 USDT of Victim 1’s funds into VCA d131, and

 the commingling of Victim 1’s funds with other funds transferred into VCA d131,

 470,773 USDT of the balance in VCA d131 was identified, conservatively, as subject to

 seizure and criminal and civil forfeiture. On January 19, 2024, United States Magistrate

 Judge Karen Frink Wolf issued a Warrant to Seize Property Subject to Forfeiture,

 authorizing the seizure of “470,773 ERC-20 USDT ASSOCIATED WITH VIRTUAL

 CURRENCY ADDRESS: 0x55Df4Ecd9066C417103F59d3eCc9B309Dedfd131.” 18

        54.      Following issuance of the seizure warrant, law enforcement worked with

 Tether to seize a portion of the funds associated with VCA d131. In summary, Tether

 used its smart contract(s) to “burn” (i.e., destroy) the USDT tokens associated with VCA

 d131. Tether then reissued, or “minted,” the equivalent amount of new USDT tokens

 associated with the identified portion of the contents of VCA d131—that is, 470,773 ERC-

 20 USDT, the Defendant Property—and those tokens were then transferred to a

 government-controlled wallet.




 18      Magistrate Judge Karen Frink Wolf had previously issued a warrant to seize that
 property on about June 21, 2023. The subsequent warrant was sought to obtain judicial review
 of the proposed process of transferring the property in the manner described in Attachment A to
 the Affidavit in Support of Application for Seizure Warrant. That process is described further
 below.
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       55.      Thereafter, the Defendant Property remained in the custody of the United

 States government to ensure that access to, or manipulation of, the forfeitable property

 could not be made absent court order or, if forfeited to the United States, without prior

 consultation by the United States.

             a. The government-controlled wallet to which the Defendant Property was

                initially transferred was controlled by the Federal Bureau of Investigation,

                or their designee. The recovery seed for the virtual currency wallet was

                stored at the Federal Bureau of Investigation office in Chelsea,

                Massachusetts.

             b. In May 2024, the Federal Bureau of Investigation, in coordination with the

                United States Marshals Service’s Complex Assets Unit and Virtual

                Currency Team, transferred the Defendant Property to a virtual currency

                wallet controlled by the United States Marshals Service. The Defendant

                Property has remained in the custody of the United States Marshals

                Service since that time.

       56.      The United States is aware that criminals will often incorporate

 cryptocurrency into their activities due to its potential, and perceived, anonymity and

 the potential complexity of tracking funds. Criminals will often conduct several transfers

 of cryptocurrency, convert tokens into other forms of cryptocurrency, and/or comingle

 unlawfully obtained funds with funds from other sources to conceal and disguise the

 unlawful source of such funds.

       57.      Here, by deceiving Victim 1 into transferring funds to both VCA d131 and

 to VCA 0c48, the perpetrator(s) were able to separate Victim 1’s funds and comingle
                                              32
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 those proceeds with other funds of unknown origin. In VCA 0c48, Victim 1’s funds were

 comingled with funds from as-yet-unknown sources, and a portion of those commingled

 funds were then laundered within, and layered into, the deposit to VCA d131. In VCA

 d131, Victim 1’s funds—both directly transferred to that address and indirectly

 transferred through VCA 0c48—were comingled with additional funds from as-yet-

 unknown sources in order conceal or disguise the nature, location, and source of Victim

 1’s funds.

        58.    Additionally, given the transfer of a portion of Victim 1’s funds and other

 comingled funds from VCA d131 prior to Tether’s temporary freeze, VCA d131 appears to

 be an intermediary wallet. Movement of illicitly obtained funds through VCA d131 would

 help to conceal and disguise the source of the USDT by layering and severing straight-

 line connections of blockchain transactions from a victim’s account to the perpetrator(s)

 seeking to eventually convert illicitly obtained cryptocurrencies into fiat currencies.

                               CLAIM FOR FORFEITURE

        59.    The allegations contained in paragraphs 1 through 58 of this Verified

 Complaint are incorporated herein.

        60.    The defendant in rem is subject to civil forfeiture to the United States

 pursuant to 18 U.S.C. § 981(a)(1)(C). Specifically, 18 U.S.C. § 981(a)(1)(C) authorizes

 forfeiture of “any property, real or personal, which constitutes or is derived from

 proceeds traceable to . . . any offense constituting a ‘specified unlawful activity’ (as

 defined in [18 U.S.C. § 1956(c)(7)], or a conspiracy to commit such offense.” Pursuant to

 18 U.S.C. § 1961(1), as incorporated by 18 U.S.C. § 1956(c)(7)(A), violations of 18 U.S.C.

 § 1343 (relating to wire fraud) are a specified unlawful activity within the meaning of 18
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 U.S.C. § 981(a)(1)(C). The defendant in rem constitutes, and is derived from, the

 proceeds of wire fraud and/or wire fraud conspiracy in violation of 18 U.S.C. §§ 1343

 and 1349, and is thus subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

        61.      The defendant in rem is subject to civil forfeiture to the United States

 pursuant to 18 U.S.C. § 981(a)(1)(A). Specifically, 18 U.S.C. § 981(a)(1)(A) authorizes

 forfeiture of “any property, real or personal, involved in a transaction or attempted

 transaction in violation of section 1956, 1957, or 1960 of [Title 18], or any property

 traceable to such property.”

              a. It is a violation of 18 U.S.C. § 1956(a)(1)(B)(i) to, “knowing that the

                 property involved in a financial transaction represents the proceeds of

                 some form of unlawful activity, conduct[] or attempt[] to conduct such a

                 financial transaction which in fact involves the proceeds of specified

                 unlawful activity—knowing that the transaction is designed in whole or in

                 part—to conceal or disguise the nature, the location, the source, the

                 ownership, or the control of the proceeds of specified unlawful activity[.]”

              b. It is a violation of 18 U.S.C. § 1957(a), in the circumstances set forth in 18

                 U.S.C. § 1957(d), to knowingly engage or attempt to engage in a monetary

                 transaction in criminally derived property of a value greater than $10,000

                 derived from specified unlawful activity.

                     i. Pursuant to 18 U.S.C. § 1957(f)(1), a monetary transaction includes

                        “the deposit, withdrawal, transfer, or exchange, in or affecting

                        interstate or foreign commerce, of funds or a monetary instrument .

                        . . by, through, or to a financial institution . . . .”
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                ii. Pursuant to 18 U.S.C. § 1956(c)(6)(A), a financial institution

                    includes any financial institution as defined in 31 U.S.C. §

                    5312(a)(2) or regulations promulgated thereunder. Pursuant to 31

                    U.S.C. § 5312(a)(2)(J), a financial institution includes “a currency

                    exchange, or a business engaged in the exchange of currency, funds,

                    or value that substitutes for currency or funds[.]”

          c. It is a violation of 18 U.S.C. § 1956(h) to conspire to commit any offense

             defined in Section 1956 or Section 1957.

          d. The defendant in rem is property involved in money laundering

             transactions in violation of 18 U.S.C. §§ 1956 and 1957, or is property

             traceable to such property, and is thus subject to forfeiture pursuant to 18

             U.S.C. § 981(a)(1)(A).




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                                 PRAYER FOR RELIEF

 WHEREFORE, the United States of America requests:

        1.     that a warrant and summons for arrest of the defendant in rem, in the

 form submitted with this Verified Complaint, issue to the United States Marshal for the

 District of Maine, or their designee, commanding them to (i) arrest the defendant in

 rem, and (ii) give notice to all interested parties to appear and show cause why forfeiture

 should not be decreed;

        2.     that judgement of forfeiture be decreed against the defendant in rem;

        3.     that thereafter, the defendant in rem be disposed of according to law; and

        4.     that this court grant the United States its costs and all other relief to which

 the United States may be entitled.

 Dated: January 16, 2025                    Respectfully submitted,

                                            DARCIE N. MCELWEE
                                            United States Attorney

                                      BY:   /s/ Nicholas Heimbach
                                            Nicholas Heimbach
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                                     VERIFICATION

        I, Kevin McCusker, being duly sworn, depose and state that I am a Special Agent

 with the Federal Bureau of Investigation and as such have responsibility for the within

 action, that I have read the foregoing Verified Complaint and know the contents thereof,

 and declare under penalty of perjury that the contents thereof are true to the best of my

 knowledge, information, and belief.

        The sources of my information and grounds of my belief are official records and

 files of the United States and information obtained during an investigation of alleged

 violations of Title 18, United States Code.


        Date: January 16, 2025             /s/ Kevin McCusker
                                           Kevin McCusker
                                           Special Agent
                                           Federal Bureau of Investigation

 STATE OF MAINE
 Cumberland, ss.

        Subscribed and sworn to before me this 16th day of January, 2025.


                                           /s/ Kimberley P. Woodward
                                           Kimberley P. Woodward
                                           Notary Public
                                           My commission expires: 11/19/2026




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